       Case 9:01-mj-05105-AEV Document 6 Entered on FLSD Docket 05/04/2001 Page 1 of 4
                                      UNITED STATES DISTRICT COURR
                                      SOUTHERN DISTRICT OF FLO RIDA

                                    AIYEARANCEsoxo:                                    @
                                    cAsENo.: ;/-W 0o'-- e - v'
 UNITED STATES OF AW RICA
                         Plaintiq

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   M /lst,,c       zzzwop           v a zycz

 1,theundersigned defendantand 1orwe, theundersignedsureties,joi
                                                               ntlyandseverallyacknowledgethatweandour
 personalrepresentatiYes,jointlyandseverally=arebAundto paytheUnited StatesofAmerica, thesum of
 $ /5 / &/ o '. J7g zp -J7oxz& A                         p . . <>,F=,,4* w p w 4 zr zyzrzv z
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                                                            o            & 'yw cnA z-Ao''vr
                                      STANDARD CONDITIONS OF BOND
 The conditionsofthisbond arethatthe defendant:

         1. Shallappearbefore this courtand atsuch otherplaces asthe defendant may be required to appear,in
accordance with any and allorders and directions relating to the defendant's appearance in this case,including
appearanceforviolationofaconditionofthedefendant'sreleaseasmaybeordered ornotifiedbythiscourtorany other
U
  nited StatesDistrictCourtto which thedefendantmay beheld to answerorthecausetransferred The defendantis
                                                                                               .

toabidebyanyjudgmententeredinsuchmatterbysurrendefingtoserveanysentenceimposedandobeyinganyorder
ordirectioninconnectionwithsuchjudgment.Thisisacontinuingbond, including anyproceeding onappealorreview
which shallremain in fullforce and efrectuntilsuch time asthe courtshallorderothem ise.                        ,

        2.M ay notatany tim e,forany reason whatever, leavethe SouthernD istrictofFloridaorotherD istrictto which
thecasemayberemoved ortransferred afterheorshehasappeared in such Districtpursuantto theconditi
b                                                                                                       onsofthis
 ond,withoutfirstobtainingwrittenpermissionfrom thecourt, exceptthatadefendantorderedremoved ortransferred
toanotherdistrictmaytravelto thatdistrictasrequired forcourtappearancesand trialpreparationuponwrittennotice
to theClerk ofthiscourt orthe courtto which the case hasbeen removed ortransferred The Southern Districtof
                                                                                       .
Florida consistsofthefollowingcounties:M onroe,M iam i-D ade,Brow ard,Palm Beach,M artin St-Lucie,lndian
                                                                                              ,
River,Okeechobee,and H ighlands.

         3. M ay notchange hisorherpresentaddressasrecorded on page4 ofthisbond withoutpriorpermission in
w riting from the court
                     .




        4. Isrequiredto appearincourtatalltimesasrequiredby noticegivenbythecourtoritsclerk to theaddress
onthisbond orinopencourtortotheaddressaschangedby permission from thecourt Thedefendantisrequiredto
                                                                                   .

ascertain from theClerk ofCourtordefense counselthetimeand place ofa11scheduled proceedingsonthe case. ln
no
di eventmay a defendantassume thathisorhercase hasbeen dism issed unlessthe courthasentered an order of
  sm issal.

         Shallnotcom m itany actin'violation ofstate or federallaw s



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                                        SPECIAL CO NDITIONS OF BOND
 In addition to compliancewith thepreviously stated conditionsofbond, thedef dantmustcomply with the special
 COnditionscheckedbelow: . Ny:-j- )(q) ,    .-'g.t)é.. '--o U(%
    a. Surrenderallpassportsand traveldocume ts
                                                              .p                                 A-.<.(ptap'T
                                                         ,i
                                                          fany,to thePretrialServlcesOë ce and notobtain anytravel
         documentsduring thependency ofthecasek
    b. ReporttoPretrialServicesasfollows:( )asdirectedor
    .                                                                                  timesinpersonand            timesby telephone;
    c. Submitto substanceabusetesting and/ortreatmentasdirected by PretlialServices;
    d. Refrain from excessiveuse ofalcohol, orany useofanarcoticdrug orothercontrolled substance asdefned
                                                                                                                               ,
        insection102oftheControlledSubstancesAct(21U.S.C.j802),withoutaprescriptionbyalicensed medical
        practitioner,
                    .      -T/
                             !)     - h- %.4.z.z--Jg'
                                                   ' tnt.
                                                        '#w'
                                                           t.v cnzœg-y
    e. Participate in mentalhealth assessmentand/ortreatment;
    f. Participateand undergo a sex oFensespecificevaluatiop and treatm entk
       M aintain oractively seek full-timeemployment; Jcf Jz/tyrczS                # F,r
    h. M aintain orbegin an educationalprogram , '
                                                          A kx'è W            / Zz-0-- vZJJ    -
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M   l. Avoid allcontactwith victimsoforwitnessesto thecrimescharged,exceptthroughcounsel;pgp-y'sucF p.L'?
<   1. Refrain from possessing afirearm , destm ctive device orotherdangerousweapons;
       None ofthe signatoriesmay sell,pledge, m ortgage,hypothecate,encum ber, etc.,any property they ow n,real
       Mape
       or   rsonal,untilthebond isdischarged, orot   herwisemodifedbytheCourt;JYAS tf .B '-'j.
          y notvisitcom mercialtransportationestablishment:airports, seaport/marinas, m merc a
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                                                                                                    /
                                                                                                   /-
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                                                                                                     ' ermvnab
                                                                                                    .î          tl/ll% '
        train stations,etc.,
                           '
    m.No  accesstotheinternetviaanytypeofconnectivitydevice(Le.computers,rla '
      follow                                                                      x,cellularphones, fv' s),and
             instructionsasoutlined in the attached agreementwaiverprovided to you by PretrialServices;
    n. HOM E CO NFG EM ENT PRO GRAM                      The defendant shallparticipate in one ofthe following home
        confnementprogram componentsandabideby alltherequirementsoftheprogram which( )willnotor
        ( )willincludeelectronicmonitoringorotherlocationverincation system,paid forby thedefendant
        based upon hivherc&#/ytopay ( )orpaidforbyPretrialServices( ).
                                    .

               Curfew :You arerestrictedto yourresidenceevery dayfrom                                to              a   orasdirected
               by the Court.
               HomeDetention:Youarerestrictedtoyourresidenceata11timesexceptfor:( )medicalneedsor
               treatment,( )courtappearances, ( )attorneyvisitsorcourtorderedobligations,and( )other
                                                     .      --   -.       -       -.     - .                                              *


    O. HALFW AY HO USE PLACEM ENT Thedefendantshallresideatahalfwayhouseorcommunitycorrections
       centerand abideby alltherulesandregulationsofthe program.
        Youarerestrictedtothehalfway houseatalltimesexceptfor:( )employment;( )education;
        ( )religiousservices;( )medical,substanceabuse,ormentalhealth treatment;( )attorneyvisits;
        ( )courtappearances;( )courtordered obligations; ( )reportingtoPretrialServices;and
        ( )other                                                                                                                    ,   .
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    q. ply-withthetulowingaddvltionalcondition
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                                                               PA GE THREE
                      PE N A LTIES AND SANCTIO NS APPLICA B LE T O D EFE N DA N T
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 d      Violation ofany oftheforegoing conditionsofreleasemay resultintheimmediateissuanceofawarrantforthe
  efendant'sarrest,a revocation ofrelease, anorderofdetention,asprovidedin 18U.S.C.j3148,forfeitureofanybail
 posted,and a prosecution forcontemptasprovided in 18 U S.
 i                                                         .   C.j 401,which could resultin apossibleterm of
 mprisonmentorafne.

 f      The commission ofany oflknsewhile on pretrialreleasemay resultin an additionalsentenceupon conviction
  or such o/ense to a term of imprisonment of notmore than ten years, ifthe o/ense is a felony;or a term of
 imprisonment ofnotmore than oneyear, iftheolenseisamisdemeanor Thissentenceshallbeconsecutiveto any
                                                                        .

 othersentence and mustbeimposed in additionto the sentence received fortheofrenseitself

        Title 18 U.S.C.j 1503 makes ita criminaloFense punishable by up to fiveyearsofimprisomnentand a
$250,000fineto intimidate orattemptto intimidate awitness, jurororoë cerofthecourt'
                                                                                  ,18U.S.C.j1510makesit
a criminal oflknse punishable by up to Gve years of imprisomnent and a $250,000 fine to obstruct a crim inal
investigation; 18 U S.
                  .  C.j 1512 makesita criminaloFensepunishableby up to ten yearsofimprisonmentand a
$250,000 fne to tamper with a witness, victim or informant;and l8 U S.C.j 1513 makes ita criminalo/ense
                                                                        .

punishableby up to ten yearsofimprisonmentand a $250,000 5neto retaliateagainsta witness victim orinformant
                                                                                        ,
orthreaten to do so.                                                                                       ,

      ltisa crim inalo/ense under 18 U .S.C.j3146,i  faherhaving beenreleased,thedefendantknowinglyfailsto
appearasrequired by the conditions ofrelease, orto surrenderforthe service ofsentencepursuantto acourtorder
lfthedefendantwasreleased inconnectionwithachargeotlorwhileawaiting sentence, surrenderfortheservice of.
a sentence,orappealorcertiorariaherconviction for:

             an oflknsepunishable bydeath, life im prisonm ent, orimprisonmentforaterm offifteenyearsormore
             thedefendantshallbefinednotmorethap $250,000 orimprisoned fornotmorethantenyears
       (2)   an olensepunishablebyimprisonmentforaterm offiveyearsormore, butlessthanfheen yeo
                                                                                                    , rbo  thk
             d                                                                                       ars, the
              efendantshallbefned notmorethan $250,000 orimprisoned fornotmore than tiveyears
       (3)
             anyotherfelony,thed/fendantshallbefinednotmorethan$250,000 orimprisoned notmoretoha
                                                                                                   , rboth;
                                                                                                       ntwo
             years,orboth;
       (4)   amisdemeanor,thedefendantshallbetinednotmorethat$100,000 orim prisoned notm orethanone
             year,orboth.

        A term ofimprisonmentimposed forfailure to appear or surrendershallbe consecutive to the se
i                                                                                                  ntence of
 m prisonm entforany otheroFense ln addition,afailureto appearmayresultintheforfeitureofanybailposted w hich
                               .
                                                                                                     ,
meansthatthedefendantwillbeobligated to paythefullamountofthebond, whichmaybeenforcedby allapplicable
lawsoftheUnited States.
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                                                                                              PA G E FO U R

                          PENALTIES AND SANCTIO NS APPLICABLE TO SURETIES
   Violation by the defendantofany oftheforegoing conditionsofrelease willresultin an immediate obligationby the
   surety orsuretiestopaythefullamountofthebond Forfeitureofthebond foranybreach ofoneorm oreconditions
                                                                      .

  maybedeclaredbyajudicialoë cerofanyUnitedStatesDistrictCourthavingcognizanceoftheaboveentitledmatter
  atthetim eofsuchbreach, and ifthebond isforfeited andtheforfeitureisnotsetaside orremitted,
                                                                                              judgmentmaybe
  entereduponmotioninsuchUnitedStatesDistrictCourtagainsteachsuretyjointlyandseverallyfortheamountofthe
  bond,togetherwith interestand costj,and execution may beissued and paymentsecured asprovided by theFederal
  RulesofCriminalProcedureand otherlawsoftheUnited States                                 .




                                                   SIGNATURES
  Ihavecarefully read and Iunderstand thisentire appearancebond consisting offourpages, oritasbeen read to me
                                                                                                                ,
  and,ifnecessary,translated into m y native language, and lknow thatlam obligated by 1aw to comply with aI1ofthe
  termsofthisbond. lpromise to obey allconditionsofthisbond, to appearin courtasrequired, and to surrenderfor
  serviceofany sentence imposed. lam aware ofthepenaltiesand sanctionsoutlined inthisbondforviolationsofthe
  termsofthebond.

  lflam an agentacting fororon behalfofacorporatesurety, lfurtherrepresentthatlam a duly authorized agentfor
  the corporate surety and have fullpow erto execute this bond in the am ountstated.

                                                            .

  Signed this       /1 dayor                       4.
                                                    +6. DEFEN20DANT
                                                                  l           ,                ,   at               /                             ,
                                                                                                                                                      Florida.
  Signed and acknowledged before me:
                                   '
                                   ,
                                                                              .
                                                                                  q.DEFENDAN-
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  W ITN ESS:                       .                                              !           RESS:Z    .
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  ADD RESS:                                                                           ,                     f-?z-''                 zll, V Fz
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                                                                CO RPORATE SURETY
 Signed this                  day of                                    , 20   ,at                                                                ,   Florida.
 SUM TY :                                                                          AGEN-
                                                                                       f:tsignature)
 ADDRESS:                                                                          PRIN T N AM E:
                                       ZD                                          TELEPHONE:
                                                   A.


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 signed this day of                    o /,xt . &                Floridt. .
                                                                                   signedthis day of                      ,20   ,
                                                                                                                                    at            ,Florida.
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 DEFENDANT: m p/be/&                                                          ?DEFENDANT:                           Xo%LszF
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                                                                                   IJNITEb STATES AGISTRATE JIJDGE
 DISTRIBLJTION: DefendantaM sistantU.S.Atterney, Coufksel,U.S.Marshal.Pretzial enices
